     Case 3:23-cv-01304-BAJ-EWD             Document 254       05/24/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA


VOICE OF THE EXPERIENCED, a                *
membership organization on behalf of       *
itself and its members; and MYRON          *
SMITH, DAMARIS JACKSON, NATE               *     CIVIL ACTION
WALKER, DARRIUS WILLIAMS,                  *
KEVIAS HICKS, JOSEPH                       *
GUILLORY, KENDRICK                         *     NO.: 3:23-cv-1304
STEVENSON, and ALVIN WILLIAMS,             *
on behalf of themselves and all others     *
similarly situated,                        *     JUDGE BRIAN A. JACKSON
                                           *
VERSUS                                     *
                                           *     MAGISTRATE JUDGE
JAMES LEBLANC, in his official             *     ERIN WILDER-DOOMES
capacity as Secretary of the Louisiana     *
Department of Public Safety and            *
Corrections; TIMOTHY HOOPER,               *
in his official capacity as Warden of      *
Louisiana State Penitentiary; MISTY        *
STAGG, in her official capacity as         *
Director of Prison Enterprises, Inc.; the  *
LOUISIANA DEPARTMENT OF                    *
PUBLIC SAFETY & CORRECTIONS; *
and PRISON ENTERPRISES, INC.               *
                                           *
****************************************************
                                      NOTICE OF APPEAL

       NOW INTO COURT, through undersigned counsel, come Defendants herein, JAMES

LEBLANC, in his official capacity as Secretary of the Louisiana Department of Public Safety and

Corrections, TIMOTHY HOOPER, in his official capacity as Warden of Louisiana State

Penitentiary, and the LOUISIANA DEPARTMENT OF PUBLIC SAFETY AND

CORRECTIONS (“Defendants”), hereby notify this Court and all parties to this action that they




                                              1
     Case 3:23-cv-01304-BAJ-EWD              Document 254        05/24/25      Page 2 of 2




are taking an appeal, to the United States Fifth Circuit Court of Appeals, from the Order issued

by Judge Jackson on May 23, 2025. (R.Doc. 253.)

                                            Respectfully submitted on May 24, 2025,
                                            LIZ MURRILL
                                            Attorney General

                                            By:     s/Andrew Blanchfield
                                                    Andrew Blanchfield, T.A. (#16812)
                                                    Email: ablanchfield@keoghcox.com
                                                    Christopher K. Jones (#28101)
                                                    Email: cjones@keoghcox.com
                                                    C. Reynolds LeBlanc (#33937)
                                                    Email: rleblanc@keoghcox.com
                                                    Chelsea A. Payne (#35952)
                                                    Email: cpayne@keoghcox.com
                                                    Special Assistant Attorneys General
                                                    Post Office Box 1151
                                                    Baton Rouge, Louisiana 70821
                                                    Telephone: (225) 383-3796
                                                    Facsimile: (225) 343-9612



                                CERTIFICATE OF SERVICE
       I hereby certify that I have this date electronically filed the foregoing with the Clerk of

Court by utilizing the CM/ECF system, and a copy of the above and foregoing was this day

forwarded by the Court’s ECF Delivery System to all counsel of record.

       Baton Rouge, Louisiana, this 24th day of May, 2025.


                                     s/Andrew Blanchfield
                                      Andrew Blanchfield




                                                2
